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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

  In re:                                                    Chapter 11
  AGWAY FARM & HOME SUPPLY, LLC,1                           Case No. 22-10602 (JKS)
                           Debtor.                          Objection Deadline: July 27, 2022 at 4:00 p.m. (ET)
                                                            Hearing Date: August 3, 2022 at 2:00 p.m. (ET)

          NOTICE OF DEBTOR’S APPLICATION FOR ENTRY OF AN ORDER
      AUTHORIZING AND APPROVING THE EMPLOYMENT OF MORRIS JAMES LLP
           AS COUNSEL TO THE DEBTOR NUNC PRO TUNC TO JULY 5, 2022

         PLEASE TAKE NOTICE that on July 13, 2022, the above-captioned Debtor and
  Debtor in Possession filed the Debtor’s Application for an Order Authorizing and Approving the
  Employment of Morris James LLP as Counsel to the Debtor nunc pro tunc to July 5, 2022
  (the “Application”) with the United States Bankruptcy Court for the District of Delaware
  (the “Bankruptcy Court”).

          PLEASE TAKE FURTHER NOTICE that responses, if any, to the Application must
  be in writing, in conformity with the Federal Rules of Bankruptcy Procedure and the Local Rules
  of the United States Bankruptcy Court for the District of Delaware, filed with the Bankruptcy
  Court and served upon the undersigned counsel so as to be received on or before July 27, 2022
  at 4:00 p.m. (ET) (the “Objection Deadline”). At the same time, you must also serve a copy of
  the response upon the Debtor’s proposed counsel:

Jeffrey R. Waxman (DE Bar No. 4159)                    Alan J. Friedman (admitted pro hac vice)
Brya M. Keilson (DE Bar No. 4643)                      Melissa Davis Lowe (admitted pro hac vice)
MORRIS JAMES LLP                                       Max Casal (admitted pro hac vice)
500 Delaware Avenue, Suite 1500                        SHULMAN BASTIAN FRIEDMAN & BUI LLP
Wilmington, DE 19801                                   100 Spectrum Center Drive, Suite 600
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E-mail: bkeilson@morrisjames.com                       E-mail: afriedman@shulmanbastian.com
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                                                       E-mail: mcasal@shulmanbastian.com

          PLEASE TAKE FURTHER NOTICE THAT a hearing on the Application is
  scheduled for August 3, 2022 at 2:00 p.m. prevailing Eastern Time before the Honorable Kate
  Stickles, United States Bankruptcy Court for the District of Delaware, 824 North Market Street,
  5th Floor, Courtroom #6, Wilmington, Delaware 19801. Please note that the hearing shall be
  conducted electronically.

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   The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
  Broad Street, Richmond, VA 23230.



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     IF NO OBJECTIONS ARE TIMELY FILED, SERVED, AND RECEIVED IN
ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
REQUESTED IN CONNECTION WITH THE APPLICATION WITHOUT FURTHER
NOTICE OR HEARING.

 Dated: July 13, 2022                MORRIS JAMES LLP
 Wilmington, Delaware
                                     /s/ Jeffrey R. Waxman
                                     Jeffrey R. Waxman (DE Bar No. 4159)
                                     Brya M. Keilson (DE Bar No. 4643)
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                                     Wilmington, DE 19801
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                                            and

                                     SHULMAN BASTIAN FRIEDMAN & BUI LLP
                                     Alan J. Friedman (admitted pro hac vice)
                                     Melissa Davis Lowe (admitted pro hac vice)
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                                     Proposed Counsel to the Debtor and Debtor
                                     in Possession




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